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   UNITED STATES DISTRICT COURT FOR THE
   EASTERN DISTRICT OF NEW YORK
   – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X

   SHORELINE AVIATION, INC.,                                      :         Case No. 2:20-cv-02161-JMA-SIL
                                          Plaintiff,              :
                                 v.                               :
   CYNTHIA L. HERBST, SOUND AIRCRAFT                              :
   FLIGHT ENTERPRISES, INC., RYAN A.                              :
   PILLA,
                                          Defendants.             :
   –––––––––––––––––––––––––––––––– X




    DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
                        SUMMARY JUDGMENT




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                                    PRELIMINARY STATEMENT

          Although this dispute covers events that took place over an extended period of time, it is,

   at base, an oral contract case. It was brought by the current owner of Shoreline Aviation, Inc.

   (“Shoreline”), Andrea Collingwood, who is the widow of Shoreline’s founder, John Kelly.

   Shoreline claims—based on a double hearsay conversation that Ms. Collingwood supposedly had

   with Mr. Kelly in 1994 about a conversation that Mr. Kelly had with defendant Cindy Herbst—

   that Mr. Kelly and Ms. Herbst agreed to an oral contract. That oral contract allegedly committed

   Ms. Herbst and two companies, non-party Sound Aircraft Services, Inc. (“SAS”) and defendant

   Sound Aircraft Flight Services, Inc. (“SAFE”), to be Shoreline’s exclusive “booking agent.”

   Shoreline further alleges that Ms. Herbst and SAFE became, by virtue of the oral contract, legal

   agents who owed fiduciary duties to their principal, Shoreline. As a result, Shoreline allegedly

   owns the customer data SAS/SAFE collected and held on their internal computer systems.

          If true, abundant documentary evidence should support those allegations. Shoreline

   worked with SAS/SAFE between 1993 and 2017, and contractual obligations, particularly those

   involving a principal’s control of an agent, should logically be clear to all of the parties and

   documented even if the contract was orally reached. And Shoreline has received voluminous

   discovery in this case, a portion of which the Court has observed first-hand piled high in Your

   Honor’s courtroom. Yet there is no such evidence.

          The substance of Shoreline’s complaints appeared for the very first time in its pleadings,

   which was filed 26 years after Ms. Collingwood’s conversation with Mr. Kelly. During Mr.

   Kelly’s lifetime, Shoreline did not assert that it had a contract with SAFE or Ms. Herbst, that

   Shoreline was a principal with SAFE and Ms. Herbst as its agents, or that it owned SAFE’s

   customer data. There is not a single written document the parties have produced that evidences



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   the existence of the claimed oral contract—for example, there was not an off-hand reference to a

   contract in an email, a listing of the contract in internal records, or an assignment of the contract

   when SAFE started booking flights instead of SAS. The evidentiary record is equally bereft of

   documents that should exist if, as it claims, Shoreline owns SAS/SAFE’s customer data. The

   parties never entered into an agreement covering the data or requiring SAS/SAFE to protect the

   data, and Shoreline did not, even once, ask to inspect or audit the data.

             Indeed, the evidence that does exist is at odds with Shoreline’s allegations. For example,

   Mr. Kelly acknowledged in written documents that Shoreline had a “booking arrangement” with

   SAS and SAFE, which is far different than a contract establishing a principal-agent relationship.

   Moreover, Mr. Kelly offered in 2017 to purchase certain of SAFE’s assets—the most valuable of

   which was its customer data—for $325,000. Plainly, it would make no sense for Shoreline to

   purchase an asset that it already owned. And when Ms. Herbst did not respond to his purchase

   offer within short deadline he set, Mr. Kelly decided to stop working with SAFE, which he

   announced in a public email blast. He did not claim that she had wronged him by

   misappropriating intellectual property or breaching a contract, as Shoreline’s pleadings now

   allege.

             Worst yet, there are two written contracts between Shoreline and SAS that cover the very

   services that Shoreline alleges are the centerpiece of the purported oral contract. As a matter of

   established law, the merger clause in the first of those two contracts means any oral contract was

   supplanted long ago by the written contracts. Since Shoreline does not allege that the written

   contracts were breached or that the parties entered into an oral contract that post-dates the written

   contracts, Shoreline’s claims are legally deficient on their face.




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          It is time for this misconceived case to come to an end. Shoreline’s claims are

   unsupported by the evidence, and there is no reason to have an expensive jury trial. Summary

   judgment should be granted in favor of the Herbst Defendants.

                                    FACTUAL BACKGROUND

          A. Ms. Herbst’s Early Career

          Cynthia Herbst has booked airplane flights with multiple operators out of East Hampton’s

   airport since the 1980s. Cynthia L. Herbst’s and Sound Aircraft Flight Enterprise’s Rule 56.1

   Statement of Undisputed Material Facts (“SOMF”) ¶ 1. In 1990, after working for a software

   developer for a short period of time, Ms. Herbst started as an employee for Sound Aircraft Services

   (“SAS”), a fixed base operator that was owned by her then husband, Steven Tuma. Id. ¶ 2. In 1992,

   Ms. Herbst formed another company, Sound Aircraft Flight Enterprises (“SAFE”), which she

   owned. Id. ¶ 3. SAFE primarily provided pilot training, aerial sightseeing, and chartered flights,

   while SAS offered chartered airplane, seaplane, and helicopter flights with Ms. Herbst as the

   employee taking the lead on booking flights. Id. ¶ 8. Through Ms. Herbst’s efforts, SAS began

   developing a customer base for booking passengers on flights. Id. ¶ 6.

          B. Shoreline Enters into a Booking Arrangement with SAS

          In 1993, Ms. Herbst spontaneously met John Kelly, the principal of Shoreline, and had an

   impromptu discussion concerning a potential working relationship. SOMF ¶ 12. Shoreline offered

   flights on seaplanes and other aircraft between Manhattan and East Hampton. Id. ¶ 14. At the time,

   SAS also provided services to Shoreline, such as fuel and airplane servicing. Id. ¶ 13. Ms. Herbst

   and Mr. Kelly agreed to a business arrangement whereby, in exchange for commissions, SAS

   would book passengers for seaplanes and chartered planes departing from or flying to East

   Hampton, New York. Id. ¶ 15. They agreed to a 10 percent commission for each passenger that

   SAS booked, and that the arrangement could be cancelled at the convenience of Shoreline or SAS.

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 Id. ¶ 15. There was no discussion of exclusivity, treatment of customer data, ownership of

 customers, advertising, changes to the commission terms, or additional duties. Id. ¶¶ 17-20. As

 Mr. Kelly succinctly put it when later describing the relationship, “[t]his was merely a booking

 arrangement . . . .” Ex. 5 (SAI0000255)1.

        C. SAS and Shoreline Enter into Two Written Contracts

        On May 15, 1994, SAS, Shoreline, and the town of East Hampton entered into an operating

 agreement, which dictated the terms under which Shoreline, with SAS’s assistance, could operate

 out of the East Hampton Airport (the “Operating Agreement”). SOMF ¶ 25-27. The Operating

 Agreement was intended “to formally establish procedures to be followed to insure the safe,

 orderly and compatible conduct of [Shoreline]’s operation, including the ground operation services

 to be provided by [SAS], one of the Airport’s fixed base operators.” Ex. 6 ¶ 1 (SAI000360). The

 Operating Agreement required SAS to provide ticketing, check-in, baggage handling, and related

 customer services to Shoreline. Ex. 6 ¶ 3 (B) (1) (SAI000361). As Shoreline has acknowledged,

 these are the same services that SAS had already been providing to Shoreline pursuant to the

 putative oral contract. Ex. 2 at 160:11-161:20 (Collingwood Dep. Tr.).

        As is particularly relevant here, the Operating Agreement also includes an integration

 clause confirming that it reflected “the complete understanding of the parties” and that it could

 only be modified “by written endorsement pursuant to a resolution of the Town Board.” Ex. 6 ¶

 18 (SAI000369). Moreover, the Operating Agreement explicitly states that “[i]t is clearly

 understood and agreed that nothing in this agreement shall be construed to grant or authorize the

 granting of an exclusive right to [Shoreline].” Ex. 6 ¶ 16 (SAI000368).




 1
  “Ex.” refers to the exhibits attached to the Declaration of Reid Skibell, dated June 16, 2023, in
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        On July 16, 1996, SAS and Shoreline entered into a new operating agreement, to which

 East Hampton was not a party (the “Supplemental Operating Agreement”). The Supplemental

 Operating Agreement reaffirmed the duties and obligations between the parties: “[SAS] shall

 continue to offer flight reservation services and ground handling . . . in accordance with its current

 operating agreement in place between the parties.” Ex. 8 ¶ II.B (SAI000406). With respect to

 SAFE, the Supplemental Operating Agreement states that it or a Shoreline subsidiary will offer

 flight instruction. Ex. 8 ¶ V (SAI000407).

        D. SAS and Shoreline Work Together between 1993 and 2017

        Beginning after Shoreline and SAS began their informal booking arrangement in 1993, and

 continuing through the two Operating Agreements, SAS and Shoreline worked together, without

 interruption, until 2017. SOMF ¶ 35.

        At all times during this period, Ms. Herbst was an employee of SAS. SOMF ¶ 36. Ms.

 Herbst and other SAS employees booked customers for Shoreline flights, as well as flights on

 Liberty Helicopters, Associated Aircraft Group, and Action Airlines, and others. Id. ¶ 37. They

 also checked-in customers on those flights, responded to customer inquiries, and handled

 administrative matters. Id. ¶ 38. Ms. Herbst and the other employees worked in SAS’s offices,

 used SAS’s computers, and their salaries were paid by SAS. Id. ¶ 39. Ms. Herbst’s salary was

 independent of any commissions received by SAS. Id. ¶ 40.

        Originally, SAS used a Shoreline credit card reader to process payments, and Shoreline

 then paid SAS its earned commissions. SOMF ¶ 41. After Shoreline filed for bankruptcy protection

 in the early 200s, however, SAS began collecting payments and remitting the money to Shoreline

 to avoid payment delays. Id. ¶ 42. Since SAS did not have the proper Federal Aviation

 Administration certificate that would permit it to collect and remit passenger taxes, SAFE would

 run the credit cards and remit the money to SAS. Id. ¶ 43.

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         With respect to customers, SAS collected customer information on its own and maintained

 that information on its computer systems, and SAS used that data to communicate with its

 customers. Id. ¶ 45. In fact, Shoreline did not ever seek access to any customer data held by SAS

 or SAFE. Id. ¶ 22. Shoreline also did not inquire into how SAS or SAFE collected, stored, or

 safeguarded any customer data. Id. ¶ 23.

         For a period of time, Shoreline collected customer information that was saved in an internal

 Excel spreadsheet. SOMF ¶ 46. At some point after 2016, Shoreline uploaded this customer list to

 a software application called Constant Contact. Id. ¶ 47. Shoreline sent out less than 10 customer

 communications using Constant Contact, it and let its subscription lapse in 2019. Id. ¶ 48.

         E. SAFE Begins Working with Shoreline

         In 2017, Mr. Tuma and Ms. Herbst divorced. As a part of the divorce, the parties entered

 into an agreement which stipulated that SAS would remain Mr. Tuma’s company, while SAFE

 would remain Ms. Herbst’s company. SOMF ¶ 50. The parties also agreed that the companies

 would not compete with each other, and agreed that SAS would provide fueling to aircraft, aircraft

 storage, and other related services while SAFE would provide booking services for aircraft flights.

 Id. ¶ 51.

         Although Mr. Kelly eventually objected to the inconvenience of having to work with both

 SAS and SAFE, he did not claim that SAS had breached a contract or an assignment was required.

 Id. ¶ 54. In July 2017, Mr. Kelly sent Ms. Herbst a letter to discuss the change in circumstances

 between Shoreline and SAS (the “2017 Letter”). SOMF ¶¶ 53, 55. Instead, Mr. Kelly seized on

 this situation and unilaterally proposed a new fee structure that paid SAFE less than SAS for the

 bookings. Id. ¶ 55. Ms. Herbst, on SAFE’s behalf, was forced to accept this lower commission rate

 because Mr. Kelly was withholding money that Shoreline owed SAFE for customers that it had



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 already booked and there was no agreement or contract that granted SAFE any rights. Id. ¶¶ 56-

 57.

         F. Shoreline and SAFE Explore New Business Opportunities, and Shoreline
            Attempts to Buy SAFE’s Customer Data.

         In the fall of 2017, John Kelly decided that he wanted to sell Shoreline, and he started

 negotiations with Hyannis Air Service, Inc., d/b/a as “Cape Air”, which is a commercial airline

 that provides flights to 40 destinations in the United States and Caribbean. SOMF ¶¶ 58, 60. Mr.

 Kelly concealed the existence of these negotiations from SAFE and Ms. Herbst. Id. ¶ 59.

         In late January 2018, Cape Air started due diligence on the potential transaction, and sent

 Shoreline a checklist of materials that it required, including all of Shoreline’s “Material Contracts.”

 SOMF ¶ 61. In connection with these due diligence requests, however, Shoreline did not provide

 Cape Air with any information indicating that it had a contract with either SAS or SAFE. Id. ¶ 62.

         After months of negotiations, Shoreline and Cape Air executed a letter of intent, dated

 March 5, 2018, indicating that Cape Air would merge with Shoreline. Cape Air agreed to pay

 Shoreline $5,000,000, with $1.5 million of the consideration being assigned to an employee stock

 purchase plan (“ESOP”). Ex. 15 ¶ 1(c) (HAS0002245). An ESOP is a type of qualified employee

 benefit plan that permits employees to become beneficial owners of a company’s stock common

 stock whereby the ESOP provides retirement benefits to employees based upon the value of the

 company’s shares. SOMF ¶ 65. Shoreline desired an ESOP to be part of the transaction because

 John Kelly and Andrea Collingwood, Shoreline’s principals, would have had a reduced tax burden.

 Id. ¶ 66.

         Around this same time, Ms. Herbst was presented with a new opportunity. In early 2018,

Blade Air Mobility, Inc. (“Blade”) reached out to Ms. Herbst to discuss a partnership between

SAFE and Blade. SOMF ¶ 67. Blade is the creator of a smartphone application that people can use


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to find seats on flights, including flights to the Hamptons. Id. ¶ 68. During the early discussions

with Blade, Ms. Herbst informed Blade that she wanted Shoreline to be involved in any potential

transaction. Id. ¶ 69. Blade’s representative agreed, and subsequently on April 6, 2018, Blade’s

representatives, Ms. Herbst, Mr. Kelly, and others participated in a meeting. Id. ¶ 70.

        Already having a deal with Cape Air in hand, however, Mr. Kelly had no interest in

 partnering with Blade. SOMF ¶ 72. On or about April 11, 2018, Mr. Kelly sent Ms. Herbst a letter

 informing her that Shoreline would not participate in anything having to do with Blade. Id. ¶ 73.

 In the beginning of the letter, Mr. Kelly explains why a deal with Blade would be bad for both

 Shoreline and SAFE. Id. ¶ 74. Tellingly, Mr. Kelly informed Ms. Herbst that Blade would take

 advantage of her by misusing SAFE’s customer data—the very data Shoreline claims it owns in

 this case. Specifically, Mr. Kelly stated:

        [O]nce they have established themselves with our customers and adapted them to
        their booking system Blade would have no incentive to continue to work with
        either [SAFE] or Shoreline. . . . Likewise, once the bulk of the [SAFE] contact list
        was converted to Blade’s marketing platform, there would be no need for
        [SAFE]’s services. At that point, any contract you might have with them is only
        valuable in it gives you the right to sue them when they fail to honor their
        commitments.

 Ex. 9 (SAI000040-43 (emphasis added)).

        Mr. Kelly proceeded to offer $325,000 to purchase certain of SAFE’s assets, including its

 “customer lists, contact information, booking records and accounting records for the last 5 years.”

 Id., at SAI000041. He further stated that Mr. Herbst would need to be bound by a three-year non-

 compete, and that she “would agree not to release your customer list to any other person or business

 entity.” Id., (emphasis added). Mr. Kelly set a short deadline for Ms. Herbst to respond to the offer,

 and his rush may have reflected the exigencies of the Cape Air deal. SOMF ¶ 78. SAFE was unable




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 in the timeframe given, and Shoreline proceeded to cancel the booking arrangement. SOMF ¶ 79,

 83.

        G. Shoreline Unilaterally Terminates the Booking Arrangement with SAFE.

        In early 2018, Shoreline began discussions with a company called TakeFlight about

 building its own customer booking platform, and they eventually entered into a contract. SOMF ¶

 80. This customer booking platform would enable Shoreline to perform the tasks that had

 previously been handled by SAS/SAFE. Id. ¶ 81. Once Shoreline learned about Ms. Herbst’s

 conversations with Blade, it accelerated the development of this system. Id. ¶ 82.

        In a document which indicates it was sent on May 6, 2018, Shoreline contacted the

 customers for whom it had contact information and informing them that Shoreline was no longer

 working with SAFE: “Beginning May 1st 2018, our seaplane commuter and charter customers will

 be able to book directly with Shoreline Aviation, using our website, email or toll free 800 number.”

 Ex. 9 (SAI000047-48). This communication further informed customers that “check-in staff will

 be at the [SAS] booth located in the main terminal.” Id. In other words, Shoreline decided to use

 SAS’s location in the airport, which was run by Ms. Herbst’s ex-husband, to check-in customers.

 Ex. 2 at 111:3-112:17 (Collingwood Dep. Tr.).

         Shoreline provided no notice to SAFE or Ms. Herbst prior to sending this email effectively

 terminating SAFE. SOMF ¶ 85. At that point, Ms. Herbst decided that she had no choice but to

 partner with Blade. Declaration of Cynthia L. Herbst, dated June 16, 2023 ¶ 51 (“Herbst

 Declaration”). In the afternoon of May 7, 2018, Ms. Herbst unilaterally executed a Memorandum

 of Terms, which was a precursor to Blade and SAFE negotiating a definitive agreement. Ex. 20

 (BLADE609-616). Later that evening, Ms. Herbst sent an email to SAFE’s customer list which

 informed them that SAFE would be working with Blade because “[u]nfortuantely, it appears that

 Shoreline Aviation no longer wishes to work with [SAFE].” Ex. 19 (SAI000033).

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         Negotiations continued between SAFE and Blade, and the final agreements were executed

 on May 17, 2018. SOMF ¶¶ 90, 92. SAFE received $175,000 in exchange for selling its assets to

 Blade. Id. ¶ 90. Ms. Herbst also agreed to serve as a consultant to Blade for $5,000 a month. Id. ¶

 91.

         H. Cape Air Buys Shoreline’s Assets and then Shutters the Company

         While the original version of the Cape Air-Shoreline transaction was envisioned as a $5

 million merger, Cape Air subsequently decided that it preferred an asset sale. SOMF ¶ 97. In

 November 2018, Shoreline began working on a revised version of the transaction that would

 address the increased tax liabilities from an asset sale. Id. ¶ 98.

         Those discussions continued into December 2018, and Shoreline and Cape Air finally

 agreed to a deal where Shoreline received slightly in excess $6.37 million—a substantial increase

 over the $5 million that Cape Air had originally offered. Ex. 23 (HAS0002267-68). Shoreline

 received an increase sum to offset the tax benefit loss from the canceled ESOP transaction. SOMF

 ¶ 100. A portion of the $6.37 million was paid directly to Mr. Kelly and Ms. Collingwood as part

 of the transaction. Ex. 23 (HAS0002267-68).

         After the asset purchase closed at the end 2018, Shoreline existed as a corporate entity

 operated by Cape Air. SOMF ¶ 103. Shoreline had not been a profitable business in the years

 before Cape Air’s purchase, and that did not change after the transaction closed; its performance

 was unchanged. Id. ¶¶ 104-105. In 2020, Cape Air decided to shutdown Shoreline because it did

 not receive approval for a seaplane route between Boston and New York. Id. ¶ 106.

         I. Ryan Pilla’s Limited Role in the Underlying Events

         Ryan Pilla is Ms. Herbst’s longtime boyfriend. Ryan A. Pilla Statement of Undisputed

 Facts (“PSOMF”) ¶ 1. Mr. Pilla operates a successful automotive repair business, which has been

 based out of the Hamptons since the late 1990s. PSOMF ¶ 2. Although he was named a defendant

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 in this lawsuit, Mr. Pilla does not have any interest, ownership or otherwise, in Ms. Herbst’s

 business ventures, including SAFE. Id. ¶ 4. He merely provided advice and guidance to Ms. Herbst

 regarding the operations of SAFE as her significant other. Id. ¶ 5.

        During the time Ms. Herbst was negotiating the transaction between SAFE and Blade, Mr.

 Pilla corresponded with Mr. Kelly on a handful of occasions. PSOMF. ¶ 7. Ms. Herbst was dealing

 with medical and personal issues, so, for example, Mr. Pilla texted Mr. Kelly to coordinate the

 scheduling of the meeting with Blade. Id. ¶ 8. Although Blade copied Mr. Pilla on correspondence

 with Ms. Herbst and mistakenly listed him as a principal of SAFE in certain draft agreements, he

 did not negotiate any part of the transaction with Blade. Id. ¶¶ 13-16.

        Mr. Pilla also did not have any relationships or contracts with Shoreline, and he did not

 agree to keep information confidential on Shoreline’s behalf. PSOMF ¶¶ 10-11. Mr. Pilla has

 never accessed any of Shoreline’s or SAFE’s intellectual property, customer information, or other

 proprietary business information. Id. ¶¶ 12. Mr. Pilla had no control or involvement in SAFE’s

 operations or business plans during the period at issue. Id. ¶ 5.

                                            ARGUMENT

        A party is entitled to summary judgment when it establishes that there is no genuine

 dispute as to any material fact and it is entitled to judgment as a matter of law. See Allstate Ins.

 Co. v. Singh, 2022 WL 3929885, at *2 (E.D.N.Y. Aug. 12, 2022) (citing Fed. R. Civ. P. 56 (a),

 report and recommendation adopted, 2022 WL 3914965 (E.D.N.Y. Aug. 31, 2022). Here, the

 Herbst Defendants’ are entitled to summary judgment because Shoreline’s legal claims assume

 facts to be true that are, in actuality, contradicted by documentary evidence, testimony, and, not

 least of all, commonsense. Although Shoreline tries to finesse an unfavorable evidentiary record




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 by labelling, on its own authority, SAFE and Ms. Herbst an “agent,” that attempt fails as a matter

 of New York law. All of Shoreline’s claims should be dismissed.

   I.   THE CONTRACT CLAIMS
        The heart of Shoreline’s case is a purported oral contract, which serves as the basis for

 Shoreline’s breach of contract (Count I), promissory estoppel (Count II), and constructive trust

 claims (Count X) claims, and it is the factual predicate for Shoreline’s claims grounded in fiduciary

 duty or agency, as detailed below. Shoreline contends that during a meeting held at an unidentified

 time in 1994, John Kelly, on behalf of Shoreline, and Cindy Herbst, who was supposedly “d/b/a

 SAFE and [SAS]”, agreed to an oral contract pursuant to which: “Herbst” was responsible for

 “exclusively booking” Shoreline flights, and “Herbst/SAFE” would receive a 10% commission for

 each seat booked; Herbst would be “Shoreline’s exclusive booking agent,” and as such both had

 access to Shoreline’s proprietary data, and was required to guard it; and either party could

 terminate the agreement on “reasonable notice.” According to Shoreline, Herbst and SAFE

 terminated the contact “without reasonable notice . . . in April or May 2018.”

         Shoreline’s claims related to this alleged oral contact must be dismissed because the

 evidence overwhelmingly demonstrates that there was no such contract. Rather, there are two

 written contracts that cover the provision of booking services between the parties and that therefore

 bar Shoreline’s claims. Those written contracts equally mean Shoreline’s unjust enrichment

 (Count III) must be dismissed. See 839 Cliffside Ave. LLC v. Deutsche Bank Nat’l Tr. Co. for First

 Franklin Mortg. Loan Tr. 2006-FF3 Mortg. Pass-Through Certificates, Series 2006-FF3, 2018

 WL 4608198, at *11 (E.D.N.Y. Sept. 25, 2018) (Locke, J.) (dismissing unjust enrichment claim

 due to existence of a contract).




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              A. Kelly and Herbst Agreed to a Non-binding Booking Arrangement.

           The legal requirements for an oral contract are firmly established: “Before a court will

 impose a contractual obligation based on an oral contract, the proponent must establish that a

 contract was made and that its terms are definite.” Volunteers of Am. of W. New York, Inc. v.

 Rochester Gas & Elec. Corp., 2014 WL 3510495, at *11 (W.D.N.Y. July 14, 2014) (quoting

 Muhlstock v. Cole, 245 A.D.2d 55, 58 (1st Dep’t 1997)). By contrast to a written contract, a

 plaintiff alleging the existence of an oral contract “faces a heavier burden” of proof: “To ensure

 that parties are not trapped into surprise contractual obligations that they never intended, more than

 agreement on each detail is required, there must be an overall agreement to enter into the binding

 contract.” Delaney v. Bank of Am. Corp., 908 F. Supp. 2d 498, 514 (S.D.N.Y. 2012), aff'd, 766

 F.3d 163 (2d Cir. 2014). If no reasonable factfinder could find based “on the record and in the face

 of the documentary evidence,” that the parties the parties intended to, and, in fact, did form an oral

 contract, then the court must grant summary judgment to the defendant. Gottlieb v. Simon, 1998

 WL 684839, at *3 (S.D.N.Y. Sept. 30, 1998) (citation omitted), aff'd sub nom. RKG Holdings, Inc.

 v. Simon, 182 F.3d 901 (2d Cir. 1999).

           Shoreline’s claims for promissory estoppel and constructive trust similarly require a

 promise, which must be clear and unambiguous in the case of promissory estoppel, on which it

 reasonably relied. See Celi v. Canadian Occidental Petroleum Ltd., 804 F. Supp. 465, 470

 (E.D.N.Y. 1992); Van Brunt v. Rauschenberg, 799 F. Supp. 1467, 1474 (S.D.N.Y. 1992). Where,

 as here, there is no such promise, the claims must be dismissed. See Wilson v. Dantas, 746 F.3d

 530, 538 (2d Cir. 2014) (promissory estoppel); Van Brunt, 799 F. Supp. at 1474 (constructive

 trust).

           Shoreline cannot establish that there was a meeting of the minds that would form the basis

 for a contract or valid promise. What Mr. Kelly and Ms. Herbst negotiated was an informal

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 booking arrangement: Ms. Herbst, on behalf of SAS, her husband’s company where she was

 employed, agreed to book and check-in customers on Shoreline seaplanes in exchange for

 commissions. Nothing else was discussed between the two of them, as Ms. Herbst, Mr. Kelly, and

 Ms. Collingwood (Shoreline’s corporate representative) have all confirmed. They did not negotiate

 a contract with definite terms or elucidated obligations, much less one with the specific obligations

 proffered by Shoreline. Although that lack of precision is normal for an informal arrangement, an

 enforceable contract requires a meeting of the minds on material terms. See Brookhaven Hous.

 Coal. v. Solomon, 583 F.2d 584, 593 (2d Cir. 1978) (“To consummate an enforceable agreement,

 the parties must not only believe that they have made a contract, they must also have expressed

 their intent in a manner susceptible of judicial interpretation.”). Simply put, a reasonable factfinder

 could not find an oral contract or enforceable promise on this evidentiary record.2

        First, Ms. Herbst testified that she only discussed with Mr. Kelly a commission-based

 booking arrangement that could be cancelled at the convenience of Shoreline or SAS. There was

 no discussion of, much less agreement on, exclusivity, treatment of customer data, who owned the

 customers, advertising, changes to the commission terms, or additional duties. SOMF ¶¶ 15-19.

        Second, documents produced by Shoreline show that Mr. Kelly held the same view as Ms.

 Herbst. In the July 2017 Letter, Mr. Kelly summarized the terms of the “past relationship” between

 Shoreline and SAS. SAI010912. Notably, he claimed neither that there was a contract nor that the

 relationship extended beyond the booking of flights in exchange for commissions:

                In the past Shoreline Aviation has agreed that Sound Aircraft Services
                may retain 10% of all commuter sales, both prepaid and retail . . . . We

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   See ,e.g., D3 Int’l, Inc. v. AGGF Cosm. Grp. S.p.A., 2023 WL 2390552, at *8 (S.D.N.Y. Mar. 7,
 2023) (granting summary judgment where there was no “meeting of the minds on the essential
 terms of an oral contract”); Marcus v. Lominy, 2022 WL 493688, at *10 (S.D.N.Y. Feb. 17,
 2022) (granting summary judgment on an oral contract where a key term was not “sufficiently
 definite”).

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                have also allowed Sound to collect 3.5% on all Credit Card transactions, a
                fee to which no other broker is entitled.

                For this 13.5% of the gross, we have received an array of services which
                have included Commuter Reservations, charter bookings and fee
                collections, along with the preparation of flight manifests, check in
                services, baggage handling and expediting fueling into and out of East
                Hampton.

 Ex.4 (SAI010912); see also Ex. 5 (SAI0000255) (quoting Mr. Kelly: “This was merely a booking

 arrangement which just wasn’t working anymore.”). Mr. Kelly’s statements prove this was not a

 contract, much less one with the features Shoreline has alleged here.

        Third, Shoreline’s corporate representative, Ms. Collingwood, testified that the company’s

 knowledge of the existence of the putative oral contract was primarily based on discussions she

 had with Mr. Kelly. Ex. 2 at 106:1-107:13(Collingwood Dep. Tr.). She further explained that Mr.

 Kelly told her this was nothing more than a “booking arrangement”:

        Q: What did you recall discussing with Mr. Kelly?

        A: We talked about him setting up the arrangement with [Ms. Herbst]: the
        booking arrangement where she would help us with our customers in exchange
        for commissions.

 Ex. 2 at 33:18-23 (Collingwood Dep. Tr.) (emphasis added); (see also id., at 154: 20-23 (“So the

 terms of the agreement were that she would provide our booking services in exchange for

 commission, and that oral contract lasted for 24 years.”).

        Relatedly, Ms. Collingwood could not articulate who Ms. Herbst was supposedly

 negotiating on behalf—SAS, SAFE, or herself— during the formation of the putative oral contract.

 Ex. 2 at 30:15-31:2; 34:6-20 (Collingwood Dep. Tr.) (claiming that the three are

 “interchangeable”). That lack of precision is inconsistent with the existence of an oral contract.

 Further, she does not know if Mr. Kelly and Ms. Herbst discussed treatment of customer data (Id.,

 at 149:10-14. “Q: So if I understand correctly, when Ms. Herbst and Mr. Kelly had a conversation


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 about working together, they didn’t discuss customer data, right? A: No, not that I’m aware of.”)

 (see also id., 109:11-18, 206:12-16.); or booking exclusivity (id., at 150:3-151:21) (Q: I’m asking

 now what was discussed in 1994. To your knowledge did they discuss one way or the other whether

 Ms. Herbst could book flights for other seaplane operators? A: I really don’t know the answer to

 that.”). Since Shoreline is uncertain if those issues were discussed, it logically cannot prove there

 was a meeting of the minds on them.

        As for the parties’ course of conduct, it was also inconsistent with the existence of an oral

 contract. If as Shoreline alleges, SAS/SAFE/Ms. Herbst had entered into an oral contract with

 Shoreline pursuant to which Ms. Herbst and those companies agreed that Shoreline owned their

 customer data and they would act as Shoreline’s fiduciaries, then there should be documents

 evidencing this contract. But there are none. Additionally, Shoreline never claimed that it had

 rights to SAS and SAFE’s customers or that it owned the data SAS and SAFE collected about

 those customers. SOMF ¶¶ 18, 24. And Shoreline never inquired how SAS and SAFE stored or

 protected that customer data or asked them to inspect the data. Any of those facts, in of themselves,

 should be sufficient to prove that there was no such contract.

        As noted above, Shoreline also attempted to buy SAFE’s customer data, which is at odds

 with its allegation that it owned SAFE’s customer data. Similarly, during the course of due

 diligence with Cape Air, Shoreline identified all of the contracts that then existed. SOMF ¶ 62. It

 did not, however, indicate in those due diligence materials that it had a contract with

 SAS/SAFE/Ms. Herbst. Id.

            B. Even if There Was an Enforceable Oral Contract, Neither SAFE Nor Ms.
               Herbst Were Parties to It.

        Even putting aside that Mr. Kelly and Ms. Herbst did not agree to an enforceable contract,

 Shoreline’s contract-based claims should be dismissed because any such agreement would have

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 been between Shoreline and SAS, which merely employed Ms. Herbst. SAFE and Ms. Herbst

 cannot be liable for a contract to which they were not a party.3

        In fact, Shoreline has conceded that its only basis for imputing personal liability to Ms.

 Herbst on the alleged oral contract is veil-piercing, which is an admission that she was not an

 individual party to the contract. Ex. 26 (Shoreline’s Response to Interrogatory No. 18). Shoreline

 is bound by such an admission. See Town & Country Linen Corp. v. Ingenious Designs LLC, 556

 F. Supp. 3d 222, 260 (S.D.N.Y. 2021) (interrogatory responses are “admissions” that are “binding”

 on summary judgment).

        That admission is hardly surprising. The evidence is overwhelming that Mr. Kelly and Ms.

 Kelly merely discussed SAS—not SAFE or Ms. Herbst— booking flights on Shoreline seaplanes.

 Ms. Herbst’ testimony on this point is corroborated by the 2017 Letter, in which Mr. Kelly

 described the working relationship between Shoreline and SAS. Likewise, in the customer

 communication announcing that Shoreline would cease working with SAFE, Mr. Kelly explained

 that for the past 24 years Shoreline had worked together with SAS. Ex. 28 (SAI006764.) In other

 words, Shoreline conceded in both correspondence with Ms. Herbst and with customers that it had

 only worked with SAS between 1994 and 2017.

        The documentary evidence also shows that Shoreline understood it was working with

 SAS—not Ms. Herbst individually or SAFE. For example, Shoreline never paid any commissions

 to Ms. Herbst. SOMF ¶¶ 20, 41. The only payments made to SAFE were after Shoreline’s



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   See Cruikshank & Co. v. Sorros, 765 F.2d 20, 26 (2d Cir.1985) (“[Appellant], not a party to the
 contract at issue, cannot be found liable for damages resulting from its breach, notwithstanding
 his status as an agent of one of the parties in breach.”); Nicholls v. Brookdale Univ. Hosp. Med.
 Ctr., 2004 WL 1533831, at *12 (E.D.N.Y. July 9, 2004) (dismissing breach of contract claim
 brought against individual where the employer was the party to the contract); Highlands Ins. Co.
 v. PRG Brokerage, Inc., 2004 WL 35439, at *8 (S.D.N.Y. Jan. 6, 2004) (“[Plaintiff] may not
 hold [defendant] liable for breaching a contract to which it was not a party.”).

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 bankruptcy, which was more than a decade after the purported oral contract was reached. SOMF

 ¶ 42. There is simply no evidence that would support the contention that Shoreline agreed to an

 oral contract with Ms. Herbst or SAFE. See Staudinger+Franke GMBH v. Casey, 2015 WL

 3561409, at *7 (S.D.N.Y. June 8, 2015) (dismissing oral contract claim against an individual where

 the “[company] invoiced the clients, the plaintiffs invoiced [the company], and [the company] paid

 the plaintiffs”.).

         Further, Shoreline’s breach of contract claim against Ms. Herbst fails because Shoreline

 never directly compensated her. The contract-based claims brought against her individually must

 be dismissed for lack of consideration. See Coddington v. Adelphi Univ., 45 F. Supp. 2d 211, 219

 (E.D.N.Y. 1999) (dismissing breach of contract claims against individual defendants because

 “plaintiff pleads only the payment of consideration to [corporate defendant] and pleads no

 consideration paid to any defendant in furtherance of a contract entered into between plaintiff and

 any other defendant”); see also Highlands Ins. Co.., 2004 WL 35439, at *8 (dismissing breach of

 contract claim for lack of consideration).

             C. Even if There Was an Enforceable Oral Contract, It was Supplanted by a
                Written Contract.

         As a matter of established law, a contractual merger clause indicating it is a complete

 agreement between the parties will nullify a pre-existing oral contract covering the same subject.

 See Sengillo v. Valeo Elec. Sys., Inc., 328 F. App’x 39, 42 (2d Cir. 2009) (holding that “any claim

 based on an alleged oral contract . . . is barred by the merger clauses contained in the [written

 agreement]”); Integra FX3X Fund, L.P. v. Deutsche Bank, AG, 2016 WL 1169514, at *3 (S.D.N.Y.

 Mar. 22, 2016) (holding that a merger clause “requires dismissal of any claim founded on [an]

 earlier alleged oral agreement between the parties.”). Similarly, a promissory estoppel claim will

 not lie where the parties subsequently entered into a written agreement. See Cambridge Valley

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 Machining, Inc. v. Hudson MFG LLC, 470 F. Supp. 3d 230, 262 (N.D.N.Y. 2020) (dismissing

 promissory estoppel claim because “there is no genuine dispute that a written contract existed”).

        Here, the “booking arrangement” discussion between Mr. Kelly and Ms. Herbst predated

 Shoreline, SAS, and the Town of East Hampton entering into the Operating Agreement. The

 Operating Agreement also pertains to the subject matter of Shoreline’s and SAS’s booking

 arrangement. SOMF ¶¶ 25-29. Indeed, Shoreline has conceded that it covers SAS’s responsibilities

 to, among other things, provide ticketing, check-in, baggage handling, and other related customer

 services to Shoreline. Ex. 7 (Shoreline’s Response to RFA No. 10).

        The Operating Agreement also contains a merger clause, which states “[t]his agreement

 contains the complete understanding of the parties and may be modified only by written

 endorsement pursuant to a resolution of the Town Board.” SOMF ¶ 30. Given the existence of

 that clause, it cannot be disputed that the Operating Agreement supplanted any purported oral

 contract. Further, the Supplemental Operating Agreement, to which only Shoreline and SAS are

 parties, reaffirms the Original Operating Agreement and states that “[SAS] shall continue to offer

 flight reservations services . . . in accordance with its current operating agreement in place between

 the parties.” SOMF ¶ 33.

        In short, Shoreline and SAS understood and agreed that the Operating Agreements

 governed the terms of any booking or ticketing services. Since Shoreline does not claim the

 Operating Agreements were breached, its contract claims must be dismissed.

  II.   The “Booking Agent” Claims
            A. The “Booking Agent” Claims are Based on a Mistake of Law

        As a threshold matter, Shoreline’s breach of fiduciary duty (Count IV), faithless servant

 (Count V), misappropriation (Count VI), Defend Trade Secrets Act (Count VII), unfair

 competition (Count VIII), tortious interference (Count IX), and constructive trust (Count X) claims

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 are all predicated on the same foundation. Shoreline claims that Ms. Herbst was a “booking agent,”

 and thus, according to the plaintiff, this means that she was acting on its behalf as an agent, she

 supposedly owed fiduciary duties to Shoreline, and it purportedly owned all of the customers and

 the data collected by SAS/SAFE and held on SAS/SAFE’s computer systems about those

 customers. Ex. 26 (Shoreline’s Response to Interrogatory No. 10). With the exception of this label,

 Shoreline has provided no explanation for why it has a protectable interest in the customers

 SAS/SAFE developed and the data relating to those customers. Dkt. No. 145, at 2 (acknowledging

 the “booking agent” assertion is the basis for Shoreline’s claims)]. Shoreline’s contention that the

 label “booking agent” carries legal significance is the predicate for the majority of its claims.

 Shoreline, however, is wrong on the law. It cannot create duties where none exist by tagging Ms.

 Herbst with a label.

        Absent “extraordinary circumstances,” parties to an arm’s length business relationship—

 such as Shoreline, SAS, and SAFE—do not owe fiduciary duties to one another. Speedfit LLC v.

 Chapco Inc., 2016 WL 5793738, at *9 (E.D.N.Y. June 29, 2016) (Locke, J.) Moreover, as is

 particularly relevant here, “’the dispositive issue of fiduciary-like duty or no such duty is

 determined not by the nomenclature ‘finder’ or ‘broker’ or even ‘agent,’ but instead by the services

 agreed to under the contract between the parties.’” World Wrestling Ent., Inc. v. Jakks Pac., Inc.,

 530 F. Supp. 2d 486, 504 (S.D.N.Y. 2007) (emphasis added) (quoting Ne. Gen. Corp. v.

 Wellington Advert., Inc., 82 N.Y.2d 158, 164 (N.Y. 1993), aff'd, 328 F. App'x 695 (2d Cir. 2009);

 see also Plant Performance Servs. Int'l, Ltd. v. Gen. Elec. Int'l, Inc., 2009 WL 10741320, at *5

 (S.D.N.Y. Dec. 2, 2009) (“[t]alismanic language alone does not determine an agency relationship

 . . . [and] [c]ourts must look to the substance of the relationship.”) (citation omitted). Consistent

 with that legal principle, courts have specifically rejected the argument that being colloquially



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 referred to as an “agent” is enough to create a principal-agent relationship. See, e.g., Reed v. Luxury

 Vacation Home LLC, 2022 WL 4624839, at *19 (S.D.N.Y. Sept. 30, 2022) (dismissing breach of

 fiduciary duty claim based on allegation that defendants were “booking agents”).4

         Here, there are no contracts other than the Operating Agreements. Each is an arm’s length

 contract that requires SAS, as a fixed base operator, to provide booking, ticketing, and related

 services to Shoreline. Nothing in those Agreements evidences the existence of a fiduciary or

 agency relationship between Shoreline and SAS. Shoreline has conceded as much. Ex. 2 at 162:9-

 15 (Collingwood Dep. Tr.) (“Q: So [the Operating Agreement] does not set forth that Ms. Herbst

 or SAS have any fiduciary obligations to Shoreline, correct? A: I’m not a lawyer, but I would say

 that’s – that’s the case.”).

         But even if there was an oral contract between Shoreline and SAFE/Ms. Herbst, and the

 parties thereto had specifically agreed that SAFE/Ms. Herbst would be a “booking agent”—neither

 which is accurate—Shoreline’ claims would still fail. Any casual use of the term “booking agent”

 would have reflected the fact that SAFE and Ms. Herbst had longstanding relationships with their

 customers. Cf. Pellegrini v. Landmark Travel Grp., 165 Misc. 2d 589, 595 (N.Y. City Ct. 1995)

 (holding that that travel agents are agents for consumers). It is not probative of the relationship

 between Shoreline and SAFE/Ms. Herbst, which was purely commercial.

         If Shoreline desired SAFE or Ms. Herbst to be its fiduciaries, it would have specifically

 bargained for them to have those duties. Instead, Mr. Kelly and Ms. Herbst discussed a

 commissioned sales arrangement, which “does not make one a fiduciary.” Rosenblatt v. Christie,



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   See also Newton v. Meyer, 2023 WL 2563115, at *10 (S.D.N.Y. Mar. 17, 2023) (rejecting
 argument that a “talent agent” was a fiduciary); Staudinger+Franke GMBH v. Casey, 2015 WL
 3561409, at *12 (S.D.N.Y. June 8, 2015) (same); Plant Performance, 2009 WL 10741320, at *5
 (defendant was an “independent contractor” even though it was referred to as an “agent” in the
 contract).

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 Manson & Woods Ltd., 2005 WL 2649027, at *10 (S.D.N.Y. Oct. 14, 2005) (rejecting argument

 that payment of commissions created a fiduciary relationship), aff'd sub nom. Rosenblatt v.

 Christie, 195 F. App’x 11 (2d Cir. 2006).5 A commissioned sales arrangement is a “commercial

 relationship, pure and simple” that is not accompanied by special duties or obligations. Brasport,

 S.A. v. Hoechst Celanese Corp., 747 F. Supp. 199, 202 (S.D.N.Y. 1990). At most, SAFE/Ms.

 Herbst were required to perform commercial booking services for Shoreline. See Fed. Ins. Co. v.

 Mertz, 2015 WL 5769945, at *5 (S.D.N.Y. Sept. 29, 2015) (holding that independent contractors

 cannot be faithless servants because they only perform bargained for services).

        The parties’ course of dealing is also inconsistent with the existence of any special duties—

 fiduciary or otherwise—between Shoreline and SAS/SAFE.6 Prior to this litigation, Shoreline

 failed to assert that SAS/SAFE owed it duties that went beyond the provision of ticketing and

 booking services. And Shoreline did not treat SAS/SAFE like an agent. For example, while

 Shoreline claims that it owns all of the customer data that SAS/SAFE collected by virtue of an

 agency relationship, Mr. Kelly tried to purchase SAFE’s customer data. His conduct demonstrates

 a recognition that Shoreline had no rights to the data.




 5
   See also Rodgers v. Roulette Recs., Inc., 677 F. Supp. 731, 739 (S.D.N.Y. 1988) (explaining
 that “the fact that [defendants] collected royalties or fees which it had an obligation to pass on to
 plaintiff did not make them plaintiff’s fiduciaries”); Smw Consulting, LLC v. CDX Diagnostics,
 Inc., 2016 WL 10575032, at *2 (N.Y. Sup. Ct. Jan. 04, 2016) (commissioned sales arrangement
 not fiduciary in nature); Sanshoe Trading Corp. v. Mitsubishi Int’l Corp., 470 N.Y.S.2d 991, 993
 (N.Y. Sup. Ct. 1984) (same), aff’d, 104 A.D.2d 337 (1st Dep’t 1984).
 6
   To the extent that Shoreline would point to the length of time the parties worked together as
 evidence of a fiduciary relationship, that argument would fail. Merely having an effective
 business arrangement is not enough to create fiduciary duties. See, e.g., Atlantis Info. Tech.,
 GmbH v. CA, Inc., 485 F.Supp.2d 224, 231–32 (E.D.N.Y.2007) (“Both parties are commercial
 companies and although the Plaintiff contends that it had trust and confidence in the Defendant,
 that is not extraordinary.”).


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        In short, SAS/SAFE was no more Shoreline’s agent than Shoreline was their agent by

 virtue of the fact that it flew the airplanes carrying the customers booked by SAS/SAFE.

 Shoreline’s claims predicated on a special relationship of trust should because the evidentiary

 record contradicts its legal theory. See Staudinger, 2015 WL 3561409, at *12 (dismissing breach

 of fiduciary duty claim where plaintiff could not produce evidence of an agency relationship).

            B. There Are No Protectable Trade Secrets

        Shoreline’s misappropriation, DTSA, and unfair competition claims predicated on trade

 secret claims should be dismissed on the additional ground that the information that Shoreline

 points to does not constitute a trade secret. In New York, courts use the following factors to

 determine if information constitutes a trade secret: [i] the extent to which the information is known

 outside of the business; [ii] the extent to which it is known by employees and others involved in

 the business; [iii] the extent of measures taken by the business to guard the secrecy of the

 information; [iv] the value of the information to the business and its competitors; [v] the amount

 of effort or money expended by the business in developing the information; and [vi] the ease or

 difficulty with which the information could be properly acquired or duplicated by others.”

 Waterville Inv., Inc. v. Homeland Sec. Network (NV Corp.), 2010 WL 2695287, at *3 (E.D.N.Y.

 July 2, 2010) (citing Ashland Mgmt. Inc. v. Janien, 624 N.E.2d 1007, 1013 (N.Y.1993)). The most

 important consideration, however, is “whether the information was secret.” Lehman v. Dow Jones

 & Co., 783 F.2d 285, 298 (2d Cir. 1986). A plaintiff must demonstrate that it took “substantial

 measures to protect the secret nature of its information.” Big Vision Priv. Ltd. v. E.I. DuPont De

 Nemours & Co., 1 F. Supp. 3d 224, 267 (S.D.N.Y. 2014).

        Here, Shoreline has only identified customer information as trade secrets purportedly

 misappropriated by the Herbst Defendants that were created and held by parties other than



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 Shoreline: SAS and SAFE. Ex. 2 at 230:6-19 (Collingwood Dep. Tr.) (claiming that the

 misappropriated information was “[Ms. Herbst’s] list”). Shoreline, however, did not seek access

 to such data. SOMF ¶ 22. Shoreline also failed to inquire into how SAS or SAFE collected, stored,

 or safeguarded this customer data. Id. ¶ 23. And it neglected to put into place an agreement with

 SAS or SAFE that would require the customer information to be protected in some manner. Id. ¶

 17.

         The closest Shoreline comes to alleging action taken to safeguard its purported trade secrets

 is an assertion that it gave Ms. Herbst an employee handbook containing a confidentiality

 provision. Dkt. No. 33 ¶ 41. However, Mr. Herbst was not a Shoreline employee and thus would

 not have been bound by anything in the handbook. And Ms. Collingwood testified that the

 handbook referenced in the pleadings is not the one supposedly presented to Ms. Herbst. Ex. 2 at

 211:8-212:25 (Collingwood Dep. Tr.,). Ms. Collingwood further clarified that the confidentiality

 provision only applied to planes Shoreline managed for private owners (i.e., not passengers

 SAS/SAFE booked). Id., at 213:2-22.)

         Having done essentially nothing for more than twenty years to safeguard this customer

 data—which was created, curated, and held by others—it is farcical for Shoreline to claim the data

 is entitled to legal protection. See Big Vision Priv. Ltd.., 1 F. Supp. 3d at 267 (holding that plaintiff

 failed to identify trade secret because information belonged to another company and “there was

 virtually no contemporaneous documentary or testimonial evidence . . . indicating that [plaintiff]

 took any steps to ensure the confidentiality of the information . . .”); Broker Genius, Inc. v. Zalta,

 280 F. Supp. 3d 495, 522 (S.D.N.Y. 2017) (holding that plaintiff failed to protect purported trade

 secret it disclosed to customers without protection of a confidentiality agreement). The trade

 secrets claims must all be dismissed.



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 III.   The Tortious Interference and Unfair Competition Claims
        Separate from its tortious interference and unfair competition allegations based on

 purported misappropriation of data, Shoreline has a scattershot range of alternative theories. It

 asserts that the Herbst Defendants tortiously interfered with unspecified customer relationships by

 allegedly harassing its customers, working with Blade and, commencing a lawsuit against

 Shoreline, and that the Herbst Defendants unfairly competed by supposedly harassing Shoreline’s

 customers. Each claim should be dismissed.

        To begin with, “[f]or a tortious inference claim in which the defendant's interference is

 intended, at least in part, to advance its own competing interest, New York law requires the party

 seeking relief to prove that the tortfeasor interfered with the prospective relationship using criminal

 or fraudulent means.” SourceOne Dental, Inc. v. Patterson Companies, Inc., 328 F. Supp. 3d 53,

 69 (E.D.N.Y. 2018).

        Here, the Herbst Defendants were plainly attempting to advance their economic interests

 by working with Blade to book customers. And Shoreline cannot even come close to identifying

 criminal or fraudulent conduct because none has been alleged and none exists. Further, Ms. Herbst

 filed the lawsuit against Shoreline based on the advice of her attorney at the time. Herbst Decl. ¶

 58. A lawsuit brought in good faith does not constitute tortious conduct—much less satisfy the

 higher standard required when the defendant is advancing a personal interest—because the

 commencement of a lawsuit is a protected activity under the Noerr-Pennington doctrine and New

 York law. See Cambridge Cap. LLC v. Ruby Has LLC, 565 F. Supp. 3d 420, 475 (S.D.N.Y. 2021)

 (dismissing tortious interference claim because counter-defendant was “shielded from liability for

 filing the complaint by the Noerr-Pennington doctrine”); Chutko v. Ben-Ami, 150 A.D.3d 582, 583

 (1st Dep’t 2017) (dismissing tortious interference claim based on litigation privilege) (citing Front,

 Inc. v. Khalil, 24 N.Y.3d 713, 718 (N.Y. 2015).

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         A claim for tortious interference with prospective business relations also requires the

 plaintiff to identify specific business relationships that were lost as a result of the tortious conduct.

 See In Touch Concepts, Inc. v. Cellco P’ship, 949 F. Supp. 2d 447, 478 (S.D.N.Y. 2013)

 (dismissing claim for failure to allege lost relationships), aff’d, 788 F.3d 98 (2d Cir. 2015).

 Shoreline has not identified any customers it would have booked on flights absent the Herbst

 Defendant’s alleged tortious conduct. Instead, Shoreline’s tortious interference claim is supported

 by flawed, backwards reasoning: if a former Shoreline customer decided to fly with Blade the

 Herbst Defendants must be at fault. Ex. 2 at 285:16-20 (Collingwood Dep. Tr.) (“Q: You are

 assuming that because these persons stopped booking with you, that they did it because of actions

 by Ms. Herbst, correct? A: That is correct.”); see also id., 279:8-280:9; 283:8-11; 292:19-25. In

 itself, that dooms the tortious interference claim. See, e.g., Learning Annex Holdings, LLC v.

 Gittelman, 48 A.D.3d 211, 211 (1st Dep’t 2008) (upholding grant of summary judgment because

 “plaintiff has failed to identify any specific customers it would have obtained but for defendant's

 actions”).

         The unfair competition claim should be dismissed because Shoreline cannot adduce

 evidence to show that the Herbst Defendants engaged in bad faith. See Sys. Mgmt. Arts Inc. v.

 Avesta Techs., Inc., 87 F. Supp. 2d 258, 272 (S.D.N.Y. 2000) (dismissing claim for lack of

 evidence of bad faith). SAFE’s communications with the customers after Shoreline cancelled the

 booking arrangement was entirely proper: SAS/SAFE had relationships with the customers going

 back decades, some of which predated any business relationship with Shoreline. While Shoreline

 may have also had relationships with certain customers, it did not own the customers by virtue of

 flying the airplanes any more than SAS/SAFE owned the customers by booking them on those

 airplanes.



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 IV.    Damages and Causation
        In most cases, the existence of cognizable damages and “but for” causation would both be

 a given. “That is, in the usual case, it is undisputed that the complained-of loss would not have

 occurred had the defendant not committed the relevant breach.” Semi-Tech Litig., LLC v. Bankers

 Tr. Co., 353 F. Supp. 2d 460, 482 (S.D.N.Y. 2005), aff'd sub nom. In re Bankers Tr. Co., 450 F.3d

 121 (2d Cir. 2006). But this is not the usual case, as the Court is aware. Shoreline can neither show

 cognizable damages nor that the Herbst Defendants are the factual cause of such damages.

        To begin with, Shoreline claims that it suffered five types of losses:

         (a) $839,848.51, the approximate amount of 2018 lost revenue as a result of Defendants’
        actions; (b) $189,605.87, the approximate cost to replace SAFE’s staff in 2018 and change
        Shoreline’s advertising to remove references to SAFE and correct the contact information;
        (c) $65,522.00, the amount of unearned commissions paid to Herbst and SAFE; and (d)
        $513,425.00, the approximate amount of the loss of tax benefits to Shoreline Aviation from
        the Employee Stock Ownership Plan that Shoreline Aviation could not implement in 2018
        as a result of the filing of Herbst and SAFE’s frivolous suit against Shoreline Aviation.

 Ex. 26 (Shoreline’s Response to Interrogatory No. 13).

        The first purported harm is not a typographical error: Shoreline has consistently maintained

 in this case that it is seeking lost revenue, not lost profits. Ex. 2 at 308:2-16 (Collingwood Dep.

 Tr. (testifying that Shoreline is “seeking loss of revenue”); Dkt. No. 33, at ¶122 (alleging that in

 2018 Shoreline “suffered damages . . . consisting of $1,350,000 from lost revenue from both

 commuter and charter flights”). This category of damages should be rejected “because lost revenue

 is not a proper measure of damages.” Integrated Const. & Power Systems, Inc. v. Radha Krishna

 Corp., 2019 WL 10292281, at *2 (N.Y. Sup. Ct. Jan. 30, 2019); see also Texas State Aquarium v.

 Fishman Chem. of N. Carolina, LLC, 2016 WL 4765057, at *5 (S.D. Tex. Sept. 13, 2016)

 (explaining that “a proper measure of damages looks to lost net profits, not lost net revenues”). It

 is too late for Shoreline now to claim it is pursuing lost profits and to belatedly attempt to calculate

 lost profits at a later date. See Wagner v. JP Morgan Chase Bank, 2011 WL 856262, at *7

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 (S.D.N.Y. Mar. 9, 2011) (“Failure to demonstrate .. . non-speculative damages will result in

 summary judgment in favor of the defendant.”).

        In any event, Cape Air’s corporate representative confirmed that Shoreline, which it

 acquired in 2018, was as profitable after the transaction as it was historically. Ex. 12 at 97:20-

 101:17 (Migliore Dep Tr.). Cape Air made the decision to shutter Shoreline because it could not

 get regulatory approval for a seaplane route. Ex. 12 at 98:22-101:17 (Migliore Dep Tr.). Plainly,

 the Herbst Defendants are not responsible for Shoreline’s closure.

        The second category of damages is equally puzzling because Shoreline has never argued

 that SAFE/Ms. Herbst were prohibited from canceling the putative oral contract; rather, it has

 claimed that they had to give approximately one month’s notice before doing so. Ex. 2 at 153:10-

 24; 299:11-24 (Collingwood Dep. Tr.). As a logical matter, however, Shoreline still would have

 needed to hire replacement staff and amend its advertising irrespective of the length of notice. (Id..

 300:6-301:7) (notice did not impact need to hire replacement staff). The Herbst Defendants’

 purported failure to give less notice than required could not have caused the claimed damages. For

 that reason, this damages claim should be dismissed on causation grounds. See, e.g., RSL

 Commc'ns PLC v. Bildirici, 649 F. Supp. 2d 184, 220 (S.D.N.Y. 2009) (dismissing damages claim

 at summary judgment for failure to show “but for” causation), aff’d sub nom. RSL Commc’ns PLC,

 ex rel. Jervis v. Fisher, 412 F. App’x 337 (2d Cir. 2011).

        As for the supposedly unearned commissions, Shoreline has conceded that it received the

 full amount of compensation it was due for the commissions it paid to SAFE:

        Q: So you paid her approximately $65,000 in commissions, correct?

        A: That is correct.

        Q: And you received all the money from the flights related to those



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        commissions, right?

        A Yes, we did.

 Ex. 2 at 258:6-12 (Collingwood Dep. Tr.).

        Although Shoreline may subjectively believe that SAFE should have checked-in the

 customers on the flights, that is not a basis for it to recover the entire value of those commissions.

 That would be a windfall to Shoreline. And, in any event, Shoreline prevented SAFE from

 checking-in the customers by cancelling the booking arrangement through an email sent to the

 entire customer base. There is nothing unjust here because Shoreline prevented SAFE from

 carrying out the obligation it contends SAFE was required to do.7

        Finally, the stated ESOP damages are not cognizable damages. Although Shoreline has

 provided no support for the specific calculation set forth in the interrogatory, it appears to represent

 supposed tax losses due to Shoreline and its two owners (id., at 335:22-336:5; ), the latter of which

 are not parties to this case. Moreover, Shoreline’s accountant, who calculated the ESOP tax losses

 in an earlier affidavit, was asked to assume that the entirety of the $5 million consideration would

 be applied to the ESOP. Ex. 27 (SAI007875-78). However, Shoreline only agreed to apply $1.5

 million to the ESOP (HAS0002245); her calculation was based on inaccurate inputs.

        Nonetheless, even if the number represented genuine tax losses to Shoreline, any losses on

 the transaction were made up for by $1.3 million in additional consideration that Cape Air paid on

 the deal. See Ex. 2 at 336:6-15 (Collingwood Dep. Tr.) (“Q: Do you know if the changed version




 7
   Additionally, with respect to Shoreline’s unjust enrichment claim, the claim is further deficient
 because Ms. Herbst and SAFE did not earn any benefit at Shoreline’s expense as it received all
 the money from the flights related to the commissions at issue. 839 Cliffside Ave. LLC v.
 Deutsche Bank Nat'l Tr. Co. for First Franklin Mortg. Loan Tr., 2018 WL 4608198, at *11
 (E.D.N.Y. Sept. 25, 2018) (noting that unjust enrichment claim must be dismissed unless it is
 demonstrated that one party has received money or a benefit at the expense of another).

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 of the transaction made up for any tax losses to you and Mr. Kelly or to Shoreline? A: Yes, it

 did.”); See Ex. 12 at 82:20-88:14 (Migliore Dep. Tr.). For personal taxes reasons, Mr. Kelly asked

 for most of this additional consideration to be paid to him and his wife directly in the form of a

 $2,000,000 bonus for adhering to a non-compete. Ex. 12 at 40:1 – 41: 21 (Miglore Dep. Tr.); Ex.

 2 at 331:4-336:9 (Collingwood Dep. Tr.). The Herbst Defendants are not responsible for Mr.

 Kelly’s decision to have that additional consideration paid to him and his wife instead of Shoreline.

  V.    The Purported Bases for Individual Liability
        Most of Shoreline’s arguments for individual liability are unavailing on their face. With

 respect to Mr. Pilla, the undisputed evidence shows that he emotionally supported Ms. Herbst

 during her conversations with Blade (Ex. 24 at 26:1-21 (Pilla Dep. Tr.)), and that Blade mistakenly

 named him as a principal of SAFE in drafts of certain documents. PSOMF ¶ 14. That thin reed of

 connection to this case does not support the existence of any legal claims.

        Mr. Pilla cannot be held liable for misappropriation under New York law or the DTSA

 because he never possessed, received, transferred, or accessed the customer data that are the

 alleged trade secrets. See MedQuest Ltd. v. Rosa, 2023 WL 2575051, at *3 (S.D.N.Y. Mar. 20,

 2023) (DTSA and misappropriation require disclosure of a trade secret); TransPerfect Glob., Inc.

 v. Lionbridge Techs., Inc., 2022 WL 195836, at *9 (S.D.N.Y. Jan. 21, 2022) (granting summary

 judgment because defendant never had access to confidential information). Further, common

 claims based on misappropriation are only viable where a party has “has . . . undertaken [a] duty

 contractual or otherwise to the plaintiff not to misuse the plaintiff’s information.” Town & Country

 Linen Corp. v. Ingenious Designs LLC, 556 F. Supp. 3d 222, 257 (S.D.N.Y. 2021); see also

 Schroeder v. Pinterest Inc., 133 A.D.3d 12, 30 (1st Dep’t 2015) (dismissing misappropriation




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 claim for lack of duty). Here, Mr. Pilla has no duty, confidential or otherwise, to Shoreline as he

 never had a relationship with the entity.8 PSOMF ¶¶ 10-11.

        As set forth above, Ms. Herbst is not a party to any contract with Shoreline and she received

 no individual consideration that would support the enforceability of any such contract. Nor is there

 any evidence that Ms. Herbst agreed to individually serve as a “booking agent” or that she

 personally acted as a legal agent to Shoreline. Moreover, Shoreline seems to have abandoned any

 attempt to demonstrate a basis for veil-piercing. It pursued virtually no discovery on this issue, and

 the evidence is overwhelming that SAFE, at all times, respected the corporate form.9 Summary

 judgment is thus appropriate on veil-piercing. See, e.g., New York v. B.B.& S. Treated Lumber

 Corp., 2006 WL 8441333, at *7 (E.D.N.Y. Mar. 16, 2006) (granting summary judgement).

        Although Shoreline claims that Ms. Herbst can be found individually liable irrespective of

 whether it can prove alter-ego liability, the doctrine on which it relies is limited to situations where

 a corporate executive engages in willful, tortious conduct. See Reynolds v. Lifewatch, Inc., 136 F.

 Supp. 3d 503, 526 (S.D.N.Y. 2015). The only torts Shoreline has alleged are predicated on the

 basis of a fictional agency relationship that would create a duty to Shoreline.




 8
  Although Shoreline’s claim for unfair competition against Mr. Pilla is partly based on
 allegations that he harassed its customers and otherwise interfered in its business, the claim must
 be dismissed because the record is void of any evidence corroborating Shoreline’s allegations.
 9
  Specifically, Ms. Herbst respected the corporate form by: (1) not commingling her personal
 funds and assets with SAFE’s funds and assets; (2) not using SAFE’s as her personal bank; (3)
 making sure that SAFE is adequately funded; and (4) handling booking services via SAFE,
 instead of in her personal capacity. SOMF ¶¶ 10-11, 51.

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                                        CONCLUSION

        For the foregoing reasons, the Herbst Defendants’ respectfully submits the Court should

 grant the Motion.

  Dated: New York, New York                          GLENN AGRE BERGMAN &
         June 16, 2023                               FUENTES LLP

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                                     PROOF OF SERVICE
         I hereby certify that a true and correct copy of the foregoing document was served via
 email, on June 16, 2023, upon counsel for Shoreline Aviation:

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